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                        UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                  WESTERN DIVISION


JODI ANDERSON,                                        5:20-CV-05053-KES

                     Plaintiff,

      vs.                                                 JUDGMENT

DAKOTA STYLE FOODS, INC., a/k/a
Dakota Style, Inc,

                     Defendant.



      Under the parties’ joint motion for dismissal (Docket 15), it is

      ORDERED, ADJUDGED, AND DECREED that the above-entitled action

is dismissed with prejudice, with the parties to bear their own costs, expenses,

and attorney fees.

      Dated July 28, 2021.
                                       BY THE COURT:


                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE
